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                            IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA
                                     COLUMBIA DIVISION

ROBERT MARBERGER,                            )       CA: 3:22-cv-02375-MGL
                                             )
               Plaintiff,                    )
                                             )
                       v.                    )
                                             )       FIFTH AMENDED
JEREMY R. NIVENS and DZYK                    )       SCHEDULING ORDER
TRANSPORTATION SERVICES, LLC,                )
                                             )
               Defendants.                   )

        Pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules of this
District, the following schedule is established for this case.

1.     Defendant(s) shall file and serve a document identifying by full name, address, and
       telephone number each person whom Defendant(s) expects to call as an expert at trial and
       certifying that a written report prepared and signed by the expert including all information
       required by Fed. R. Civ. P. 26(a)(2)(B) has been disclosed to other parties by January 9,
       2025 (nunc pro tunc).

2.     Discovery shall be completed no later than February 28, 2025. All discovery requests
       shall be served in time for the responses thereto to be served by this date. De bene esse
       depositions must be completed by discovery deadline. No motions relating to discovery
       shall be filed until counsel have consulted and attempted to resolve the matter as required
       by Local Civil Rule 7.02 and have had a telephone conference with Judge Lewis in an
       attempt to resolve the matter informally. The request for a telephone conference
       should be made within the time limit prescribed by local rule for filing such a
       motion. Attorneys should send a request for a telephone conference via e-mail to
       Lewis_ecf@scd.uscourts.gov.

3.     Motions in limine must be filed no later than May 12, 2025. Written responses are due
       seven (7) days thereafter.

4.     All other motions, except those to complete discovery, those nonwaivable motions made
       pursuant to Fed.R.Civ.P. 12, and those relating to the admissibility of evidence at trial,
       shall be filed on or before March 14, 2025. (Fed.R.Civ.P.16(b)(3)(A)).

5.     Mediation shall be completed in this case on or before April 14, 2025. See the Mediation
       Order filed in this case which sets forth mediation requirements.

6.     No later than April 28, 2025, the parties shall file and exchange Fed.R.Civ.P. 26(a)(3)
       pretrial disclosures. Within fourteen (14) days thereafter, a party shall file and exchange
       Fed.R.Civ.P. 26(a)(3) objections, any objections to use of a deposition designated by
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       another party and any deposition counter-designations under Fed.R.Civ.P. 32(a)(6).

7.     Parties shall furnish the Court pretrial briefs seven (7) days prior to the date set for jury
       selection (Local Civil Rule 26.05). Attorneys shall meet at least seven (7) days prior to
       the date set for submission of pretrial briefs for the purpose of exchanging and marking
       all exhibits. See Local Civil Rule 26.07.

8.     This case is subject to being called for jury selection and/or trial on or after June 2, 2025.


                                              s/Mary Geiger Lewis
                                              MARY GEIGER LEWIS
                                              UNITED STATES DISTRICT JUDGE
Columbia, South Carolina
January 29, 2025
